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   6                             UNITED STATES DISTRICT COURT
   7                                     DIS'IA IG OF NEVADA

   8 UNITED STATES0FAM ERICA, )
                               )
   9                Plaintiff, )
                               )
  10        v.                 )                  2:1l-CR-3I7-LDG-ICW H)
                               )
  l1 ROSALIE DELGADO,          )
                               )
  12                        Defendant.
  13                               FINAL ORDER OF FORFEITURE
  14           On M arch 29,2012,the United Stite's DistrictCourtforthe DistrictofNevada entered a
  15 Prelim ina!y OrderofForfeitureptlrsuanttoFed. R.Crim.P.32.
                                                              2(b)(1)and(2))Title 18,UnitedStates:
  16 Code,Section924(d)(1),(2)(C),and(3)(B)andTitle28,UnitedStatesCode,Sectionz46llc);andTitle
  17 21sUnitedSutesCode,Section 881(a)(l1)and Title28,United StatesCode,Section2461(c),based
  18 upon the pleaofguilty by defendantROSALIE DELGADO to crim inaloffenses, forfeiting specilic
  19 property alleged in theCrim inalIndictmentand agreedto in thePleaM em orandtzm , and shownbythe
  20 UnitedStatestohavetherequisitenexustotheoffensestowhichdefendantROSALIE DELGADO pled
  21 guilty.Crim inalIndictment,ECF No.1;M inutesofChangeofPlea Proceedings, ECF No.52;Plea
  22 M em orandum ,ECF No.54;Prelim inary OrderofForfeiture, ECF N o.55.
  23           This Courtfinds the United States of America published the notice ofthe forfeittlre in
  24 accordance with the law via the officialgovernmentinternet forfeiture site, www.forfeittlre.gov,

  25 consecutivelyfrom April2,2012,toM 4y 1,2012,notifyingallthirdpartiesoftheirrighttopetitioq
  26 the Court.NoticeofFiling ProofofPublication, ECF N o.58.                                       .




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          1              ThisCourtfindsnopetitionsweretiled hereinbyoron behalfofany personorentity atzdthe
          2 tim eforfiling such petitionsand claim shasexpired.                                                  .



          3             n isCourtfindsno petitionsarependingwithregardtotheassetsnam edherein andthetime
                                                                                                                         1
          4 forpresenting such petitionshasexpired.
                                                                                                                         '
          5             THEREFORES IT IS HEREBY ORDERED ADJUDGED,AND DECREED thatal1righto                               :
          6 title,andinterestinthepropertyhereinaftxrdex rîbediscondemned,forfeited,andvestedintheUnited
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j                                                      '                                                -.j
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          7 StatesofAmericapursuanttoFed.R.Crim.P.32.2(b)(4)(A)and(B))Fed.R.Crim.P.32.2(c)(2);Title
i
          8 18,UnitedSotesCode,Section924(d)(1),(2)(C),and(3)(B)andTitle28,UnitedStatesCode,Section
!         9 246l(c);Title21,United StatesCodesSection 881(a)(11)andTitle28.UnitedStatesCode,Section
      10 2461(c);andTitle21,UnitedStatesCode,Section853(n)(7)andshallbedisposedofaccordingtolaw:
      11                      a.     Rem ingtonArms,.38caliber,two-shotDerringerpistol,serialnumber62;and

      12                      b.     anyandallnmmtmition(Gtproperty'').
      13                TheClerk isherebydirectedtosendcopiesofthisOrdertoa11cotmselofrecord andthree
j     14 certified copiesto theUnited StatesAttorney'sOffice.

!     15                DATED this      Z      dayof                       2012.             ,
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